                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

WILLIAM Z. WHITE,                            )
                                             )
                    Plaintiff,               )
                                             )
             v.                              )            1:18-cv-00969
                                             )
THE CITY OF GREENSBORO, et                   )
al.,                                         )
                                             )
                     Defendants.             )

                        MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, Chief District Judge.

      This    lawsuit       arises     out    of    the     arrest     and     firing       of

Plaintiff William White, a former Greensboro Police Department

officer, after he was investigated for illegal activity stemming

from the theft of several commercial-grade lawn mowers.                                After

the criminal charges against White were dismissed, he brought

this case alleging numerous violations of both federal and North

Carolina     law     against     multiple          Defendants      across       four      law

enforcement        agencies.           The       court     has     resolved         several

dispositive       motions    (Docs.     82,      161,    228,    and   251)     and    as    a

result the claims have been substantially narrowed.                           What remain

are White’s claims alleging violation of 42 U.S.C. § 1983 and

North Carolina trespass law against officers of the Greensboro

Police Department (“GPD”) -- Johnny Raines, Jr., William Barham,

and   Brian       Williamson     (“Greensboro            Defendants”)         --    for      a

warrantless       search    of   his    home       on    March    6,   2017;       trespass




  Case 1:18-cv-00969-TDS-LPA         Document 258         Filed 08/05/22     Page 1 of 41
against Defendant James Stalls for his entry into White’s garage

and view of a mower covered with a tarp on September 3, 2016;

and trespass against Defendant City of Reidsville (“Reidsville”)

for Reidsville        Police    Department    Sergeant      Lynwood    Hampshire’s

“knock and talk” at White’s house door inside his garage on

November 2, 2016.           (Doc. 81.)       Before the court are multiple

pre-trial motions in limine filed by the parties in anticipation

of trial.      For the reasons set forth below, the motions will be

granted in part and denied in part.

I.      BACKGROUND

        A.   Facts

        The background of this case is extensively set out most

recently in this court’s prior amended memorandum opinion and

order.       White    v.   City   of   Greensboro,     532    F.     Supp.   3d   277

(M.D.N.C. Apr. 5, 2021).            Relevant facts will be discussed as

pertinent to these motions.

        In short, White was a police officer for the GPD from April

2009 until March 6, 2017.              (Doc. 111-1 ¶ 3.) 1           On August 22,

2016, the Reidsville Police Department (“RPD”) received a report

that     several     commercial-grade       lawn   mowers    were     stolen      from

Scott’s      Tractor,      an   equipment    dealer    in    Reidsville,       North



1
  All citations to the record are to ECF docket page or paragraph
number except for testimony, which is cited to the deposition
transcript page and line.


                                         2



     Case 1:18-cv-00969-TDS-LPA    Document 258     Filed 08/05/22    Page 2 of 41
Carolina.            (Doc. 140-1.)             RPD   Lieutenant      Shannon          Coates

responded       to    the   report       and    assigned    RPD     Sergeant         Lynwood

Hampshire       to    investigate.          (Id.;    Doc.    140-2        at     16:16-20.)

Hampshire would serve as the lead investigator for the duration

of the investigation.            (Doc. 140-2 at 17:1-3.)

            1.        September 3, 2016 alleged trespass by Stalls

     On    September        3,   2016,    Defendant      James    Stalls        --    who     is

Plaintiff’s step-brother as well as brother-in-law, and a deputy

with the Guilford County Sheriff’s Office (“GCSO”) -- and his

wife,    Brittany,      went     to   the      Whites’   house      to    care       for    the

Whites’ dogs while the Whites were away.                     (Doc. 128-2 at 23:21-

24:18.)     Upon entering the garage where the dog food was kept,

Stalls noticed a John Deere mower with a sheet over the seat.

(Id. at 23:5-11, 25:25-26:5.)                  He removed the sheet, sat on the

seat,     and    photographed         the      mower’s     vehicle        identification

number, also known as the serial number.                          (Id. at 26:6-27:8;

Doc. 128-3 at 5.)

     Several         days   later,    and      suspecting     the    mower        might       be

stolen, Stalls checked the mower’s model number against a police

database.       (Doc. 128-3 ¶ 7.)              Stalls says he did this because

White told him he got it from another police officer, the mower

looked brand new, and the asking price was half the mower’s

value.     (Doc. 128-2 at 29:4-23.)                  Stalls’s research reflected

that the mower had been reported stolen by the RPD.                                  (Id. at

                                               3



  Case 1:18-cv-00969-TDS-LPA          Document 258       Filed 08/05/22        Page 3 of 41
30:3-6.)     Stalls then called his stepmother, Anita Holder -- who

is White’s mother and a former GPD police officer, including

interim chief of police -- for guidance.                (Id. at 30:8-9; Doc.

111-2 ¶¶ 7-10.)      Holder told Stalls to confront White about the

mower,     which    Stalls   did    via    text     message         and   a     phone

conversation on September 19.         (Docs. 128-2 at 30:11-31:5; 128-3

¶¶ 7-9.)

            2.     October 7, 2016 alleged trespass by Hampshire

     On October 7, Hampshire received a call from a couple, the

Terrys, who reported they had recently bought a mower from White

and who    expressed    concern    about   the    possibility        it   had    been

stolen.     (Doc. 140-3 at 1.)        On November 2, Hampshire went to

the GCSO headquarters to meet GCSO Deputy Homer Wilkins, who had

been directed by his supervisor to assist, so the two of them

could investigate by conducting a “knock and talk” at White’s

house to speak with him informally.                 (Id. at 2; Doc. 128-7

¶ 12.)     Upon arriving at White’s house, Hampshire and Wilkins

knocked on the front door, but no one answered.                 (Doc. 140-2 at

79:14-18.)       Hampshire testified that he noticed cobwebs on the

front door and believed it “[did] not look like the primary way

they go in and out of the house,” so he saw the open garage door

and what he viewed as a “clear path” to another door to the

house that was “well used,” knocked on that door, and again no

one answered.      (Id. at 79:18-80:14.)          He pushed what he thought

                                       4



  Case 1:18-cv-00969-TDS-LPA      Document 258     Filed 08/05/22     Page 4 of 41
was a doorbell, only to learn it was a garage door button, so he

pushed    it    again   to   maintain     the   open     garage    door,     left    his

business card on the door inside the garage, and left.                           (Id.)

During this time, Wilkins stayed on the driveway and did not

enter the garage.         (Id. at 134:18-22.)            According to White and

his wife, Christina, the Whites do not ordinarily use the garage

door to enter or exit their home.                 (Docs. 151-1 at 110:23-24;

151-2 at 77:3-6.)

       Prior to conducting a knock and talk at White’s residence,

Hampshire learned that White was a GPD police officer.                          (Docs.

140-2 at 18:3-9; 140-9 at 27:16-28:22.)                     Hampshire later spoke

with    Lieutenant      Coates,   his     supervisor,        who   advised     him      to

contact the North Carolina State Bureau of Investigation (“SBI”)

and GPD’s Professional Standards Division.                   (Doc. 140-2 at 18:3-

9.)    The SBI was contacted because it is standard practice for

the SBI to be involved when a police officer is a suspect in an

investigation.       (Doc. 140-8 at 170:5-171:3.)

               3.   March 6, 2017 GPD search Greensboro Defendants

       Several      months   later   on       March    5,    2017,      following       an

investigation, Hampshire applied for and obtained a warrant from

a state magistrate to search two of White’s residences.                          (Doc.

140-12.)       Also on March 5, the investigating agencies 2 informed


2
    Chief Scott’s declaration did not identify which agencies informed


                                          5



    Case 1:18-cv-00969-TDS-LPA    Document 258         Filed 08/05/22    Page 5 of 41
GPD Chief Wayne Scott that they had probable cause to arrest

White     for    felony     possession         of    stolen      property         and    felony

obtaining property by false pretenses, that the agencies were in

the process of obtaining search warrants for White’s residences,

and that they planned to arrest White on March 6.                                 (Doc. 103-1

¶ 9.)     The investigating agencies had updated Scott during their

investigation,       and    GPD’s     Professional             Standards     Division       was

also    investigating       White’s      possible         involvement        in    the    mower

thefts.        (Id. ¶ 6.)     Scott agreed that the agencies had probable

cause     to     arrest     White     and      decided         to     terminate         White’s

employment with GPD.          (Id. ¶¶ 10-11.)

        On the morning of March 6, Hampshire conducted a briefing

at     SBI’s     Greensboro    office       prior         to    executing         the    search

warrants. Present were members from the SBI, Burlington Police

Department       (“BPD”),     GCSO,      and       the    Randolph     County       Sheriff’s

Office.         (Doc.     140-13    at    1.)            Hampshire     had    prepared       an

operations        plan,     which     was          reviewed      by    his        supervisor,

Lieutenant        Coates,     outlining        the        execution     of        the    search

warrants.        (Docs. 140-2 at 89:19-23; 139.)                      Also that morning,

White was arrested at work, charged with various crimes, and

terminated from his employment with GPD as a result.                               (Doc. 103-

1 ¶¶ 18-19.)



him that probable cause existed to arrest White.


                                               6



     Case 1:18-cv-00969-TDS-LPA       Document 258          Filed 08/05/22    Page 6 of 41
        At about 8:00 a.m., the RPD and SBI executed the search

warrant at White’s primary residence.                 Present at the start of

the search were two agents from the RPD, including Hampshire as

the officer in charge, and two agents from the SBI.                       (Doc. 139

at 7.)          When the officers arrived at White’s house, the only

persons present in the home were White’s wife Christina, the

Whites’     daughter,      and    Holder.       (Doc.    137-7    at     7:23-8:10.)

Hampshire allowed Holder to leave with the Whites’ daughter.

(Id.; Doc. 140-2 at 95:22-96:9.)                The search officers proceeded

to search the residence.            They discovered a John Deere Gator and

trailer in White’s garage.               The Gator was reported as stolen

from Wake County, North Carolina, in November 2016.                      (Doc. 140-

13    at   2,    11.)    The     officers    were   unable   to   find    a   vehicle

identification number for the trailer, which appeared to have

been scratched off.              (Id.)      Both the Gator and trailer were

seized and towed to the RPD impound lot.                (Id.)

        Hampshire’s operations plan directed that, upon discovery

of any GPD equipment or property, Hampshire was to notify RPD

Lieutenant Coates, who would in turn notify the GPD to come to

White’s house to retrieve the property.                 (Docs. 139 at 11; 140-2

at 87:13-23.)           And that is what happened.              The investigating

officers discovered GPD equipment at White’s house, Hampshire

notified Lieutenant Coates, and Coates notified the GPD to come

to collect the property.           (Docs. 139-1 at 3; 140-2 at 87:13-18.)

                                            7



     Case 1:18-cv-00969-TDS-LPA      Document 258     Filed 08/05/22   Page 7 of 41
       At   about    10:00      a.m.,        Defendant   Johnny       Raines,     GPD

Lieutenant, was directed by a superior to go to White’s house to

pick up GPD-issued equipment.            (Doc. 137-10 at 15.)           Raines was

a member of Resource Management, the GPD division that keeps

track of GPD equipment.          (Doc. 137-11 at 79:3-9.)             According to

several     GPD   Defendants,    it     is    standard   practice     for   GPD      to

attempt to collect issued equipment as soon as possible after an

officer leaves the department.                (Docs. 137-10 at 15; 137-12 at

3.)    Raines directed Defendant William Barham, GPD Sergeant, to

accompany him.      (Doc. 137-12 at 3.)           When both officers arrived,

Raines looked into an open garage and noticed what appeared to

be GPD equipment.       (Doc. 137-10 at 15.)             Officers from the SBI

and RPD escorted Raines and Barham to the master bedroom where

they both observed additional GPD equipment.                  (Id.; Doc. 137-12

at 4.)       Sometime thereafter, Raines went to the living room

where Christina White was sitting and asked her if they could

collect GPD property. 3      (Doc. 137-10 at 16.)             While Raines says

Christina White “stated that we could collect and remove the

property,” (id.), Christina White testified that she never gave

Raines permission to look for GPD equipment and that he was



3
  Barham believes the conversation between Raines and Christina White
may have occurred prior to Raines and Barham entering the master
bedroom. (Doc. 236-2 at 22:13-18, 24:3-6.) That contradicts Raines’s
account. (See Doc. 234-2 at 22:15-21, 23:5-9; Doc. 157-1 ¶ 9.)



                                         8



    Case 1:18-cv-00969-TDS-LPA    Document 258       Filed 08/05/22   Page 8 of 41
already searching for the equipment before he spoke to her (Doc.

152-2 at 17:21-18:3).

        Shortly     thereafter,         Defendant     Brian      Williamson,        GPD

Sergeant, arrived at White’s house.                 (Docs. 137-10 at 16; 137-14

at    4.)      Williamson    was    the      team   leader     for     GPD’s    Special

Response Team (“SRT”), of which White was a member prior to his

termination.        (Doc. 137-14 at 3.)          Because it was unlikely that

a    non-SRT      member   could    identify        SRT    equipment,      Williamson

reported to White’s house to identify GPD’s SRT equipment. 4                      (Id.

at 4.)      While looking for White’s uniform, Williamson overheard

that RPD could not open a floor safe in the master bedroom.

(Doc. 238-2 at 19:5-17; Doc. 137-14 ¶ 9.)                        Williamson asked

Christina White for the combination, but she said she did not

know it.       (Doc. 238-2 at 20:9-25.)               Williamson then called a

former      instructor     who    was    a   master       locksmith    who     provided

Williamson with the factory combination to open the safe.                       (Id.)

        During the search, apparently after Raines found a GPD vest

with his wife’s name on it and knowing that his wife had left

the GPD, Raines believed “[t]here was credible evidence that

[White] had GPD property that he should not possess.”                             (Doc.

137-12 at 4.)        Unnamed GPD officers reviewed Hampshire’s search



4
  Williamson subsequently ordered GPD Detective Jason Lowe, who was the
sniper team lead on GPD’s SRT, to come to White’s house to identify
any SRT sniper equipment White may have had. (Doc. 137-15 at 4.)


                                             9



     Case 1:18-cv-00969-TDS-LPA     Document 258      Filed 08/05/22     Page 9 of 41
warrant and concluded it would cover their equipment to permit

them to proceed.          (Doc. 140-2 at 124:2-14.)             Raines informed the

SBI and RPD and contacted his command staff to notify them that

he believed White may have stolen GPD property.                      (Doc. 137-10 at

17.)     In response, GPD’s Property Crimes division ordered more

GPD officers to arrive throughout the morning.                           (Docs. 137-18

¶ 9; 137-20 ¶ 5; 137-21 ¶ 9.)

       Eventually, all criminal charges against White, pending in

Alamance and Guilford Counties as well as in this federal court,

were dismissed.       (See Doc. 81 ¶ 98.)

       B.     Procedural History

       The    case   is    set    for   trial     in    September    2022,    and   the

parties filed several motions in limine.                       (See Docs. 182, 185,

192, 197, 199, 201, 203.)                 The court directed the parties to

meet and confer to resolve or narrow their evidentiary disputes.

(Doc. 252 at 1.)           The parties responded, noting resolution of

some motions.        (See id. at 2-5.)           Additionally, on July 26, the

Greensboro Defendants withdrew their previous motion in limine

(Doc. 197) in order to file a replacement motion in limine (Doc.

255)   that    advances     the    same    arguments      but    also    includes   the

§ 1983      Fourth   Amendment      claim       the    court    re-instated    in   the

interim.       (Doc. 257.)         Because this motion advances the same

arguments as the previous motion, response and reply briefs are

not necessary for decision.             See, e.g., Baucom v. Doall Co., No.

                                           10



 Case 1:18-cv-00969-TDS-LPA         Document 258        Filed 08/05/22   Page 10 of 41
317CV00242MOCDSC, 2017 WL 11578197, at *1 n.1 (W.D.N.C. July 5,

2017); Green v. Cafe, No. 4:04CV111H(2), 2008 WL 7871054, at *1

(E.D.N.C. Dec. 1, 2008), aff’d sub nom., Green v. Maroules, 328

F. App’x 868 (4th Cir. 2009) (“The court finds that defendants’

response is not necessary to the court’s adjudication of these

motions and, therefore, issues its ruling prior to expiration of

defendants’ response time.”).

II.    ANALYSIS

       A.    Motions to Sever

       Defendants     Stalls     and   Reidsville        separately      move   for

separate trials pursuant to Federal Rules of Civil Procedure 20,

21, and 42.         (Docs. 182, 185.)         White has responded to each

motion (Docs. 218, 222), and Defendants have replied (Docs. 229,

231).

       Federal Rule of Civil Procedure 20(a) governs permissive

joinder of parties.        Rule 20(a)(1) permits persons to be joined

as    plaintiffs    if   “they   assert     any    right   to   relief    jointly,

severally, or in the alternative with respect to or arising out

of the same transaction, occurrence, or series of transactions

or occurrences;” and “any question of law or fact common to all

plaintiffs will arise in the action.”              Fed. R. Civ. P. 20(a)(1).

Similarly, Rule 20(a)(2) provides that persons may be joined as

defendants in one action if “(A) any right to relief is asserted

against     them   jointly,    severally,     or    in   the    alternative     with

                                       11



 Case 1:18-cv-00969-TDS-LPA       Document 258      Filed 08/05/22   Page 11 of 41
respect to or arising out of the same transaction, occurrence,

or series of transactions or occurrences; and (B) any question

of   law    or   fact    common      to    all       defendants     will   arise    in   the

action.”      Fed. R. Civ. P. 20(a)(2).                  “The United States Supreme

Court has articulated that ‘the impulse is toward the broadest

possible      scope     of     action      consistent        with    fairness       to   the

parties; joinder of claims, parties and remedies is strongly

encouraged.’”          Todd v. Cary’s Lake Homeowners Ass’n, 315 F.R.D.

453, 456 (D.S.C. 2016) (quoting United Mine Workers of America

v.   Gibbs,      383    U.S.    715,      724    (1966)).         Further,    the    Fourth

Circuit has explained that “Rule 20 gives courts wide discretion

concerning       the    permissive        joinder       of   parties.”         Aleman     v.

Chugach Support Services, Inc., 485 F.3d 206, 218 n.5 (4th Cir.

2007); see Saval v. BL Ltd., 710 F.2d 1027, 1031 (4th Cir. 1983)

(explaining that Rule 20 “should be construed in light of its

purpose, which is to promote trial convenience and expedite the

final      determination        of   disputes,         thereby    preventing       multiple

lawsuits” (citation omitted)).

      Federal Rule of Civil Procedure 21 addresses misjoinder of

parties and provides that the court “may . . . sever any claim

against a party.”              Fed. R. Civ. P. 21.               Commonly, Rule 21 is

invoked to sever parties improperly joined or where “venue is

improper as to some but not all defendants.”                           See C.L. Ritter

Lumber Co., Inc. v. Consolidation Coal Co., 283 F.3d 226 (4th

                                                12



 Case 1:18-cv-00969-TDS-LPA            Document 258       Filed 08/05/22     Page 12 of 41
Cir. 2002); Sehler v. Prospect Mortgage, LLC, 2013 WL 6145705,

at *2 (E.D. Va. Nov. 21, 2013); see also 7 CHARLES ALAN WRIGHT &

ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 1689 (3d ed. 2022).

“However, even where the parties are appropriately joined and

venue is proper, a court may sever any claim and proceed with it

separately or transfer it to a more convenient forum.”                              RAI

Strategic   Holdings,   Inc.     v.   Altria     Client      Services       LLC,    No.

1:20-CV-00393-LO,    2020   WL    6882646,      at    *2    (E.D.     Va.   Sept.   3,

2020); see Sykes v. Bayer Pharmaceuticals Corp., 548 F. Supp. 2d

208, 218 (E.D. Va. 2008) (“[A] court may ‘deny joinder if it

determines that the addition of the party under Rule 20 will not

foster the objectives of the rule, but will result in prejudice,

expense, or delay.’” (quoting Aleman, 485 F.3d at 218 n.5)).

Courts in the Fourth Circuit weigh multiple factors to determine

whether to sever claims under Rule 21:

      (1) whether the issues sought to be tried separately
      are significantly different from one another; (2)
      whether   the  separable   issues   require  different
      witnesses and different documentary proof; (3) whether
      the party opposing severance will be prejudiced if it
      is granted; and (4) whether the party requesting
      severance will be prejudiced if the claims are not
      severed.

Altria Client Services, 2020 WL 6882646, at *2 (citing Equal

Rights Center v. Equity Residential, 483 F. Supp. 2d 482, 489

(D.   Md.   2007))   (collecting       cases).             Additionally,      courts

consider “(5) fundamental fairness, (6) judicial economy, (7)


                                      13



  Case 1:18-cv-00969-TDS-LPA     Document 258        Filed 08/05/22    Page 13 of 41
undue delay, and (8) the dual threat of duplicative litigation

and inconsistent verdicts.”          Moulvi v. Safety Holdings, Inc.,

No. 3:20CV595, 2021 WL 4494191, at *6 (E.D. Va. Sept. 30, 2021)

(citation    omitted).       Because        “Supreme    Court      precedent    and

pertinent cases within the Fourth Circuit establish that courts

should favor joinder of parties within a single case[,] . . .

Rule 21 discretion to sever should be exercised sparingly.”                     Id.

(citations omitted); Altria Client Services, 2020 WL 6882646, at

*2 (collecting cases); see United Mine Workers of America v.

Gibbs, 383 U.S. 715, 724 (1966).

     Additionally, Federal Rule of Civil Procedure 42(b) permits

a court, for convenience, to avoid prejudice, or to expedite and

economize, to separate issues to be presented at trial.                   Fed. R.

Civ. P. 42(b).      “[T]he granting of separate trials is within the

sound discretion of the trial judge.”                  Bowie v. Sorrell, 209

F.2d 49, 51 (4th Cir. 1953); see White v. Bloomberg, 501 F.2d

1379, 1385 (4th Cir. 1974) (“We hold that the district courts

are free to tailor an appropriate procedure to fit the facts and

the pleadings and to select what seems best for a given case.”).

Because “a single trial will be more expedient and efficient,” F

& G Scrolling Mouse, L.L.C. v. IBM Corp., 190 F.R.D. 385, 387

(M.D.N.C.    1999),     “[i]n    civil       cases,     bifurcation      is     the

exception,    not     the   rule,”     Gonzalez        v.   SeaWorld    Parks       &

Entertainment LLC, No. 4:20CV27 (RCY), 2021 WL 3173574, at *1

                                       14



 Case 1:18-cv-00969-TDS-LPA     Document 258      Filed 08/05/22    Page 14 of 41
(E.D. Va. July 27, 2021) (quoting Mt. Hawley Ins. Co. v. Adell

Plastics, Inc., Civ. No. JKB-17-00252, 2019 WL 2360929, at *3

(D. Md. June 4, 2019)); see Response of Carolina, Inc. v. Leasco

Response,     Inc.,   537     F.2d        1307,     1323-24      (5th     Cir.    1976)

(“[S]eparation of issues [under Rule 42(b)] is not the usual

course    that      should     be     followed.”            (citation      omitted)).

Ultimately, the moving party bears the burden of convincing the

court that bifurcation “will (1) promote greater convenience to

the parties, witnesses, jurors, and the court, (2) be conducive

to expedition and economy, and (3) not result in undue prejudice

to any party.”      F & G Scrolling Mouse, 190 F.R.D. at 387; accord

Toler v. Government Employees Insurance Co., 309 F.R.D. 223, 225

(S.D. W. Va. 2015).

      “[B]ifurcation         may     be         appropriate       where . . .         the

litigation    of    the   first     issue       might    eliminate       the   need   to

litigate the second issue, or where one party will be prejudiced

by evidence presented against another party.”                      Amato v. City of

Saratoga Springs, 170 F.3d 311, 316 (2d Cir. 1999) (citations

omitted); see Saint John’s African Methodist Episcopal Church v.

GuideOne Specialty Mutual Insurance Co., 902 F. Supp. 2d 783,

788   (E.D.   Va.   2012)    (bifurcating          insurance      coverage     and    bad

faith claims because “[a]ny reference to [insurer’s] alleged bad

faith in denying [insured’s] insurance claim or failing to pay

[insured] under the insurance policy, as well as any evidence

                                           15



 Case 1:18-cv-00969-TDS-LPA        Document 258         Filed 08/05/22   Page 15 of 41
offered solely to establish such bad faith, would serve only to

prejudice         the     jury”).        “Merely      presenting       some    proof   which

supports bifurcation is not enough” to satisfy this burden.                                F &

G Scrolling Mouse, 190 F.R.D. at 387.                          “In addition, at least

one       other    Circuit       has     cautioned      that    a   ‘court        should   not

bifurcate claims unless the issue to be tried separately is so

distinct and separate from the others that a trial of it alone

may be had without injustice.’”                         Light v. Allstate Insurance

Co., 182 F.R.D. 210, 213 (S.D.W. Va. 1998) (quoting McDaniel v.

Anheuser–Busch, Inc., 987 F.2d 298, 305 (5th Cir. 1993)).

          Both Stalls and Reidsville argue that the court should hold

separate trials pursuant to Rules 20, 21, and 42.                             (See Doc. 183

at    1    (arguing       that    the     court      should    order    separate       trials

pursuant to Rules 20(b) and 42(b)); Doc. 186 at 9-21 (arguing

that the “parties are not properly joined” for trial and the

court      should        sever   Reidsville’s         trespass      claim     “pursuant     to

Rules      20,     21,    and    42”);    see    Doc.    231   (Defendant         Reidsville:

arguing      for     separate       trials      without    relying      on    a   particular

rule).)           However, there is a significant distinction between

severing claims into separate actions under Rule 21 and ordering

separate trials for different claims or issues under Rule 42(b).

See Gaffney v. Riverboat Services of Indiana, Inc., 451 F.3d

424, 441-42 (7th Cir. 2006).                         Severing claims under Rule 21

“creates two discrete, independent actions, which then proceed

                                                16



 Case 1:18-cv-00969-TDS-LPA              Document 258      Filed 08/05/22     Page 16 of 41
as    separate      suits        for     the         purpose       of       finality            and

appealability.”         Id. at 441; Herklotz v. Parkinson, 848 F.3d

894, 898 (9th Cir. 2017) (“When a claim is severed, it becomes

an entirely new and independent case.”); E.S. v. Independent

School District, No. 196 Rosemount-Apple Valley, 135 F.3d 566,

568 (8th Cir. 1998) (same); United States v. O’Neill, 709 F.2d

361, 368 (5th Cir. 1983) (same).                  In contrast, ordering separate

or joint trials under Rule 42 has no bearing on whether claims

are severed into separate actions or joined into one action.

See   McDaniel,     987        F.2d     at     304      n.19      (noting         that     “this

distinction,      clear     enough      in     theory,       is    often      obscured          in

practice since at times the courts talk of separate trial and

severance interchangeably” (citation omitted)).

      Generally,    district          courts      should     bifurcate       claims        under

Rule 42(b), rather than sever them under Rule 21, when they “are

factually    interlinked,         such       that     a    separate         trial        may    be

appropriate,      but    final    resolution          of    one    claim      affects           the

resolution   of    the     other.”           Gaffney,       451    F.3d     at     442.         In

contrast, courts sever claims under Rule 21 where the claims are

“discrete and separate” and “one claim must be capable of a

resolution despite the outcome of the other claim.”                                 Id.; see,

e.g., Reinholdson         v.   Minnesota,         346     F.3d    847,      850    (8th        Cir.

2003) (holding that, because the “trials of [the] individual

claims may expose issues of systemic violation that would cause

                                             17



 Case 1:18-cv-00969-TDS-LPA           Document 258         Filed 08/05/22     Page 17 of 41
the    district     court     to     reconsider        its    decision        to      dismiss

plaintiffs’       claims     against      the        State    defendants         in     their

entirety,” severance under Rule 21 was inappropriate; instead

construing the district court’s order as an order for separate

trials under Rule 42(b), such that the individual claims may not

be appealed until “a final judgment has been rendered in the

entire action”).

       Stalls and Reidsville each contend that they will suffer

from    undue     prejudice,       jury      confusion,         and      delay        without

severance.      (Doc. 183 at 3-8; Doc. 186 at 16-21.)                           Reidsville

further    argues     that    White’s        trespass        claims    against         it   is

improperly joined because the claims do not arise out of the

same    transaction    or     occurrence        as    the    other     claims      and      the

claims do not involve common questions of law or fact.                                  (Doc.

186 at 9-16.)        In response, White argues that severance would

harm judicial economy and be prejudicial.                        (Doc. 218 at 6-9;

Doc. 222 at 8-11.)            Additionally, in response to Reidsville,

White contends that the claims constitute the “same transaction

or    occurrence,”    and     have    common     questions       of     law     and     fact,

because they are all trespass claims related to the criminal

investigation into him.              (Doc. 222 at 6-7.)               In reply, Stalls

and Reidsville maintain that there is no “evidentiary overlap”

or    “cohesive    story”     tying    the     remaining       claims     together,         as

White’s    conspiracy        claims    were     dismissed        and     they      will     be

                                          18



 Case 1:18-cv-00969-TDS-LPA          Document 258       Filed 08/05/22     Page 18 of 41
prejudiced     by     unrelated       damages     claims          and    jury    confusion.

(Doc. 229 at 2-7; Doc. 231 at 2-6.)

       The    court    will    first        address    Reidsville’s             motion     for

severance under Rule 21.

              1.    Reidsville’s Rule 21 motion for severance

       Upon    weighing    the       relevant      factors         governing       severance

under Rule 21, the court will deny Reidsville’s motion to sever

the claims into separate actions.

       The first factor, “whether the issues sought to be tried

separately are significantly different from one another,” Altria

Client   Services,      2020     WL    6882646,       at     *2    (citation       omitted),

weighs against severance.              The present case involves three sets

of     Defendants       (Stalls,           Reidsville,         and       the     Greensboro

Defendants).          Although       the    claims     against          each    arise    from

different conduct on different dates from different individuals,

they all relate to alleged trespass on White’s property, and

thus the issues sought to be tried do not “significantly” differ

from   one    another.         For    example,       Stalls        and    the    Greensboro

Defendants both rely on a defense of consent from the Whites to

enter their home, and Reidsville and the Greensboro Defendants

both    present     factual      questions        involving          actions     by     police

officers.      In addition, two of these events occurred during the

pendency of a criminal investigation into White.                            And while the

details of the criminal claims will not be relevant to this

                                             19



 Case 1:18-cv-00969-TDS-LPA           Document 258         Filed 08/05/22      Page 19 of 41
case, the fact that there was a criminal investigation during

the November 2, 2016 and March 6, 2017 incidents is potentially

relevant      to    the    actions         of    more   than      one    Defendant.           For

example, the jury will need to understand in a general way why

Hampshire was interested in conducting a “knock and talk” on

November 2, 2016, and why the SBI and RPD were conducting a

search of White’s home on March 6, 2017, while the GPD officers

were present. 5

       The    next     factor,       “whether         the    separable       issues    require

different      witnesses        and     different            documentary       proof,”    id.,

weighs in favor of severance.                    While some witnesses, such as the

Whites, and evidence, such as details about their home, overlap

across       claims,      the    claims          also       involve     totally     unrelated

evidence      and    witnesses        and       cover   events        that   took     place   on

separate occasions.

       The    third    factor,       “whether         the     party     opposing     severance

will    be    prejudiced        if    it    is     granted,”       id.,      weighs    against

severance.         Severance would require White to try three separate

cases, forcing him to rehash similar evidence and arguments, and

would impose unnecessary separate timelines for case deadlines.

Relatedly,      the     fourth       factor,       “whether       the    party      requesting

severance will be prejudiced if the claims are not severed,”

5
  Plaintiff will not be permitted to seek to put before the jury the
details of his conspiracy and other claims the court has dismissed.


                                                 20



    Case 1:18-cv-00969-TDS-LPA         Document 258           Filed 08/05/22   Page 20 of 41
id.,     also   weighs      against    severance.             Reidsville       has       not

demonstrated that it will suffer significant prejudice by trying

its    claims   with   any    other    Defendant.          Further,      Reidsville’s

argument    regarding      the   potential       for    juror    confusion         is    not

persuasive.        Courts regularly oversee cases involving far more

numerous parties, more complex facts, and even more dissimilar

issues     among    the     parties.        This       case    involves       only       one

Plaintiff,      five      remaining    Defendants         (including         the     three

Greensboro Defendants), and four remaining claims (two of which

seek federal and state liability founded on the same conduct)

that present relatively simple questions for the jury.

       Finally, the remaining factors do not support severance.

“As a general rule, holding multiple trials when claims could be

consolidated in one trial is not conducive to judicial economy.”

Altria     Client    Services,      2020    WL     6882646,      at     *6    (citation

omitted).          Separate      trials     would      require     different            jury

selections and multiple trials spread out over multiple days,

burdening the court’s docket and forcing White to repeatedly

argue many of the same legal concepts, such as North Carolina

trespass law.       Thus, the court finds, in light of “Supreme Court

precedent and pertinent cases within the Fourth Circuit [that]

establish that courts should favor joinder of parties within a

single case,” Moulvi, 2021 WL 4494191, at *6, the adjudication

of White’s claims in a single case will best conserve scarce

                                           21



 Case 1:18-cv-00969-TDS-LPA        Document 258        Filed 08/05/22   Page 21 of 41
judicial       resources,        promote      fundamental          fairness,        and   prevent

undue delay.

                  2.     Rule 42 motions for separate trials

       Defendants’            motion    for   separate        trials       under    Rule     42(b)

fail for largely the same reasons.                          Here, separate trials would

be     a     judicially         inefficient           use     of     the    court’s        docket

management.             As discussed above, separate trials would require

different juries and multiple trials spread out over several

days.          Additionally,           Defendants’          arguments        regarding       jury

confusion is unpersuasive, as what remains are relatively simple

claims, and determining whether each Defendant violated North

Carolina trespass law when they entered White’s home on separate

occasions will not be difficult for a jury to assess.                                     Further,

separate trials would cause undue prejudice to White for the

reasons discussed above.

       In sum, the court finds that the Defendants have failed to

carry their burden under either Rule 42 or Rule 21 and have not

shown that separate trials or severance of claims is warranted.

What       remains       in   this   case     for     trial    are    straightforward         and

relatively             simple   questions        of    trespass       and      an    associated

claimed violation of a constitutional right.                           This case does not

warrant the transactional and administrative burdens of separate

trials.        Therefore, the court will deny Reidsville’s motion to

sever       and    Defendants’         motions      for     separate       trials,     and   this

                                                 22



 Case 1:18-cv-00969-TDS-LPA              Document 258         Filed 08/05/22       Page 22 of 41
action will proceed in a single trial.

     B.     Motions to Exclude Evidence of Damages

     Stalls, Reidsville, and the Greensboro Defendants each move

to exclude evidence of White’s alleged compensatory and punitive

damages.    (See Docs. 192, 203, 255.)

            1.      Compensatory damages

     Each Defendant argues that White should be precluded from

introducing evidence of damages for trespass relating to civil

claims this court has dismissed and criminal charges against him

dismissed by other courts.            (Doc. 193 at 2-12, 16-20; Doc. 204

¶¶ 6-10; Doc. 256 at 7-12.)              Such evidence includes evidence

related to the criminal investigation into White, his arrest,

the outcome of his criminal charges, criminal defense costs,

child custody litigation expenses, his alleged conspiracy by the

Defendants,       emotional   distress       suffered   as    a    result   of   his

arrest and termination of his employment, and his lost wages,

backpay,    and    other   benefits    from    losing   his       employment.     In

response, White argues that the trespasses were the genesis of

the subsequent criminal investigation, which caused the damages

at issue.     (Doc. 219 at 7-11; Doc. 220 at 6-8, 10-11; Doc. 221

at 6-8.)

     “North Carolina courts have concluded that a trespasser ‘is

liable for all damage proximately resulting from his wrongful

entry and, at least, for nominal damages.’”                  Food Lion, Inc. v.

                                        23



 Case 1:18-cv-00969-TDS-LPA      Document 258      Filed 08/05/22     Page 23 of 41
Capital Cities/ABC, Inc., 964 F. Supp. 956, 960 (M.D.N.C. 1997)

(quoting Smith v. VonCannon, 197 S.E.2d 524, 528 (N.C. 1973));

see Owens v. Blackwood Lumber Co., 193 S.E. 219, 223 (N.C. 1937)

(measuring      the    “actual   loss”    of    a   trespass         claim   as   “[t]he

decreased value of the property” (citation omitted)); Bishop v.

Reinhold, 311 S.E.2d 298, 302-03 (N.C. App. Ct. 1984) (measuring

trespass damages as the difference in fair market value before

and after the trespass or the rental value of the trespassed

property).      North Carolina courts have defined proximate cause

as

      a cause which in natural and continuous sequence,
      unbroken by any new and independent cause, produced
      the plaintiff’s injuries, and without which the
      injuries would not have occurred, and one from which a
      person of ordinary prudence could have reasonably
      foreseen that such a result, or consequences of a
      generally injurious nature, was probable under all the
      facts as they existed.

Hampton v. Hearn, 838 S.E.2d 650, 655 (N.C. Ct. App.), review

denied, 840 S.E.2d 787 (N.C. 2020) (citation omitted); see Adams

v.    Mills,    322    S.E.2d    164,    173     (N.C.       1984)    (“An   efficient

intervening cause is a new proximate cause.                           It must be an

independent force which entirely supersedes the original action

and   renders    its    effect   in     the    chain    of    causation      remote.”).

Proximate cause is generally a question of fact for the jury,

Hampton, 838 S.E.2d at 655 (“It is to be determined as a fact,

in view of the circumstances of fact attending it.” (quoting


                                          24



 Case 1:18-cv-00969-TDS-LPA       Document 258         Filed 08/05/22    Page 24 of 41
Conley    v.    Pearce-Young-Angel       Co.,    29    S.E.2d      740,    742      (N.C.

1944))),       however   “[i]f   the     evidence       be   so    slight      as     not

reasonably to warrant the inference [of causation], the court

will not leave the matter to the speculation of the jury,” id.

(quoting Conley, 29 S.E.2d at 742); Johnson v. Ruark Obstetrics

and Gynecology Associates, P.A., 365 S.E.2d 909, 915 (N.C. Ct.

App. 1988), aff’d, 395 S.E.2d 85 (N.C. 1990) (recognizing that

“where it is contended that plaintiff’s injuries are too remote

as a matter of law, the trial court may be required to decide

whether     the    tortfeasor    was     legally       exempt      from    foreseeing

plaintiff’s injuries in the first place”); People’s Center, Inc.

v. Anderson, 233 S.E.2d 694, 696 (N.C. Ct. App. 1977) (“It is an

elementary principle that all damages must flow directly and

naturally from the wrong, and that they must be certain both in

their    nature    and   in   respect     to    the    cause      from    which      they

proceed.” (quoting Johnson v. Railroad, 113 S.E. 606, 608 (N.C.

1922))).       In other words, “no recovery is allowed when resort to

speculation or conjecture is necessary to determine whether the

damage resulted from the unlawful act of which complaint is made

or   from   some    other     source.”        Anderson,      233    S.E.2d     at     696

(citation omitted).

      Similarly, as to the § 1983 claim against the Greensboro

Defendants, the court has already addressed the scope of damages

available.        (Doc. 251 at 29-37.)           As the court noted there,

                                         25



 Case 1:18-cv-00969-TDS-LPA       Document 258        Filed 08/05/22     Page 25 of 41
§ 1983    creates      tort    liability          “in   favor     of   persons     who        are

deprived of rights, privileges, or immunities secured to them by

the     Constitution.”           Memphis          Community       School    District          v.

Stachura, 477 U.S. 299, 305–06 (1986) (quoting Carey v. Piphus,

435 U.S. 247, 253 (1978)).              Section 1983 damages are intended to

compensate an individual for the injuries suffered as a result

of a constitutional violation.                     Id. at 306.         “Where no injury

[is] present, no ‘compensatory’ damages [can] be awarded.”                                    Id.

at 308.

       “The goal of the Court’s § 1983 jurisprudence has been to

tailor       liability    to      fit    the       interests        protected       by        the

particular constitutional right in question.”                          Townes v. City of

New York, 176 F.3d 138, 148 (2d Cir. 1999) (citing Carey, 435

U.S.    at    258-59).        There     is    a    “gross     disconnect”      between          a

claimed       constitutional         violation          involving      an   unreasonable

search       and    seizure    and      alleged         damages     related      to      post-

indictment         proceedings.         Id.         Indeed,       “[t]he    evil      of       an

unreasonable search or seizure is that it invades privacy, not

that it uncovers crime, which is no evil at all.”                             Id.        Where

there     are      intervening     and       superseding        events,     such         as     a

prosecutor’s decision to charge or inculpatory acts that support

a finding of probable cause, they break any alleged causal chain

of proximate cause.           (Doc. 251 at 30, 35-37.)                 Further, as this

court has already held, “it is clear that the exclusionary rule

                                              26



 Case 1:18-cv-00969-TDS-LPA           Document 258        Filed 08/05/22    Page 26 of 41
and the fruit of the poisonous tree doctrine simply do not apply

in civil cases.”         (Doc. 82 at 21-22.)           Thus, as a victim of an

unreasonable search or seizure, White “may recover damages . . .

for    physical    injury,       property    damage,    injury     to      reputation,

etc.” but he “cannot be compensated for injuries that result

from    the    discovery    of    incriminating      evidence      and     consequent

criminal prosecution.”           Townes, 176 F.3d at 148.

       Here, there is no evidence in the record that the alleged

trespasses proximately caused the compensatory damages related

to White’s criminal charges.                Rather, the court has held that

the alleged trespass by Stalls, who is White’s brother-in-law as

well    as     step-brother,       occurred    in    his   personal         capacity,

disconnected      from     any     criminal    investigation.              While   the

trespasses by Reidsville and the Greensboro Defendants occurred

in relation to the investigation into White, the costs related

to White’s criminal defense and the termination from his job do

not flow “directly and naturally from the wrong” of trespass.

See id.       Instead, the alleged damages at issue were the result

of     “[a]n      efficient        intervening       cause,”         the      criminal

investigation itself, including the decisions to fire White and

charge him with criminal conduct, “which entirely supersedes”

each Defendant’s trespass and “renders its effect in the chain

of causation remote.”            See Adams, 322 S.E.2d at 173.                Even if

the    Defendants    could       have   reasonably      foreseen      the     ultimate

                                         27



 Case 1:18-cv-00969-TDS-LPA         Document 258    Filed 08/05/22      Page 27 of 41
consequences of trespassing in relation to a potential criminal

matter,    “the      rest     of     the    evidence       generally        shows       that   the

investigation         into        White    was       proceeding     upon    an     independent

basis separate from any [trespassory] actions Stalls [and the

other Defendants] may have taken.”                        (Cf. Doc. 161 at 52.)                The

court     will      therefore        grant       Defendants’           motions     to     exclude

evidence as to previously dismissed claims, and all counsel and

witnesses are precluded from referring to these alleged damages.

               2.     Punitive damages

       Defendants          also    move    to    preclude        White     from    introducing

evidence or arguments relating to an award of punitive damages.

(See Doc. 193 at 12-16; Doc. 204 ¶ 8 (motion to exclude evidence

of Judge Biggs’s written opinion in White’s criminal matter);

Doc. 256 at 12-15.)                 In response, White argues that the jury

could find that the Defendants “acted willfully and wantonly

when    they     intentionally            trespassed      on      Plaintiff’s       property.”

(Doc. 220 at 9-11; Doc. 219 at 8-9; Doc. 221 at 8-9.)

       To recover punitive damages under North Carolina law, the

claimant bears the burden of showing by clear and convincing

evidence that the defendant is liable for compensatory damages

and that “one of the following aggravating factors was present

and was related to the injury for which compensatory damages

were    awarded:      (1)     Fraud.       (2)       Malice.     (3)    Willful      or    wanton

conduct.”           N.C.    Gen.     Stat.       §    1D–15(a).         Willful      or    wanton

                                                 28



 Case 1:18-cv-00969-TDS-LPA               Document 258         Filed 08/05/22     Page 28 of 41
conduct    “means     more    than          gross   negligence”          and   entails     “the

conscious and intentional disregard of and indifference to the

rights and safety of others, which the defendant knows or should

know is reasonably likely to result in injury, damage, or other

harm.”     N.C. Gen. Stat. § 1D-5(7).                  The North Carolina Court of

Appeals has further defined conduct as “willful” where there

exists    a    “deliberate        purpose       not    to    discharge         a     duty . . .

necessary for the safety of the person or property of another”

and conduct as “wanton” when “done needlessly, manifesting a

reckless      indifference        to    the     rights      of    others.”           Cockerham–

Ellerbee v. Town of Jonesville, 660 S.E.2d 178, 180 (N.C. Ct.

App. 2008) (citations omitted).

     As to the federal claim, punitive damages may be awarded in

a § 1983 action against an official in his individual capacity.

However, there must be sufficient evidence that the defendant’s

conduct       was   “motivated         by    evil     motive       or    intent,       or . . .

involve[d]      reckless     or    callous          indifference         to    the    federally

protected rights of others.”                    Smith v. Wade, 461 U.S. 30, 56

(1983); Cooper v. Dyke, 814 F.2d 941, 948 (4th Cir. 1987).                                 “The

callous        indifference        required           for        punitive       damages      is

essentially the same as the deliberate indifference required for

a finding of liability on [a] § 1983 claim.”                              Cooper, 814 F.2d

at 948.

     Whether        White     can        establish          that        Defendants       “acted

                                               29



 Case 1:18-cv-00969-TDS-LPA            Document 258         Filed 08/05/22      Page 29 of 41
willfully     and    wantonly        when   they    intentionally          trespassed     on

Plaintiff’s property” or, in the case of the federal claim -

with reckless or callous disregard, is generally a question of

fact for the jury.             As discussed in this court’s prior order,

there is evidence that Stalls was aware he was not welcome in

the    Whites’    home    or    garage      to   take     care   of    their    dogs     but

nevertheless entered.            (See Doc. 161 at 45-46.)                  Moreover, even

if    he   were   permitted      access,     a     jury    could    find     that    Stalls

exceeded     that    scope      by    purposefully         peering     under     a    sheet

covering a commercial mower to gain access to the serial number.

Additionally, as to Reidsville, the court previously held that

“there is at least a genuine dispute, on the facts of this case,

as to whether a reasonable officer would believe it appropriate

to knock on the door inside White’s garage.”                          (Id. at 105; see

id. at 103-105.)          Further, the court has previously denied the

Greensboro Defendants’ summary judgment motions on the basis of

qualified immunity and public official immunity, as there is

evidence      that       their       conduct       “violated          White’s        clearly

established Fourth Amendment right to privacy.”                            (See Doc. 253

at 19, 23; Doc. 228 at 36-39.)               Given this, the court will defer

ruling on the motion in limine to exclude evidence of punitive

damages as premature pending the presentation of evidence.                               It

will be up to White to produce sufficient evidence to meet the

standard for seeking punitive damages.                     Until then, the parties

                                            30



 Case 1:18-cv-00969-TDS-LPA           Document 258        Filed 08/05/22    Page 30 of 41
shall not mention punitive damages to the jury in argument or

otherwise.

       In his response, White argues that Judge Biggs’s judicial

opinion (granting a motion to suppress in White’s prior federal

criminal    case)       is    relevant       to     whether      the      jury    should       award

punitive       damages       related     to       Hampshire’s         conduct         during     the

criminal investigation.                 (Doc. 219 at 8-9.)                   White does not

argue that this opinion is evidence of malice or willful or

wanton     conduct       in     relation       to     his       trespass         claim    against

Reidsville.             Moreover,        a     judicial          opinion         is      generally

inadmissible.        See, e.g., Carter v. Burch, 34 F.3d 257, 265 (4th

Cir.    1994)     (affirming          the    exclusion          of    a     judicial      opinion

pursuant to Federal Rule of Evidence 403 because it “decided the

precise    issue     before       the       jury”    and    its       probative         value    was

substantially        outweighed         by     its     prejudicial           effect,          noting

“[j]udicial      findings        of    fact    ‘present         a     rare   case       where,    by

virtue of their having been made by a judge, they would likely

be given undue weight by the jury.’” (quoting Nipper v. Snipes,

7 F.3d 415, 418 (4th Cir. 1993))); Herrick v. Garvey, 298 F.3d

1184,    1192    (10th        Cir.    2002)       (noting       the    admission         of    prior

judgments or findings of fact under Federal Rule of Evidence

803(8)    is    questionable          because       “[j]uries         are    likely       to    give

disproportionate weight to such findings of fact because of the

imprimatur       that    has     been        stamped       on    them       by    the    judicial

                                               31



 Case 1:18-cv-00969-TDS-LPA             Document 258        Filed 08/05/22        Page 31 of 41
system”); Mendenhall v. Cedarapids, Inc., 5 F.3d 1557, 1566–70

(Fed.    Cir.     1993)   (affirming       exclusion        of   evidence     of   prior

decision in subsequent related litigation pursuant to Rule 403).

Therefore,      Reidsville’s       motion       to   exclude     evidence     of   Judge

Biggs’s written judicial decision on White’s criminal charges

will be granted.

       C.      Motion to Exclude Evidence of Text Messages

       Stalls challenges the admissibility of evidence of “emails

and text messages allegedly exchanged between Brittany Stalls

and Christina White or their mother Mrs. Ross.”                         (Doc. 193 at

21-22.)     Stalls argues that the “messages are hearsay and that

some    lack    authentication.”           (Id.)       He   also   argues     that   the

messages    are    not    relevant    to    the      trespass    claim,     or   whether

Stalls had authorization to enter White’s home, and would cause

prejudice and confuse the jury as they post-date the date of the

alleged trespass.          (Id.)     In a short response, White contends

the messages demonstrate malice and “a lack of permission for

Defendant Stalls” to be on his property.                    (Doc. 220 at 11.)         He

also argues that the messages “can be authenticated” and may be

used for purposes such as impeachment.                 (Id.)

       The text and email messages are hearsay that fail to meet a

readily apparent exception.            “Out-of-court statements constitute

hearsay only when offered in evidence to prove the truth of the

matter asserted.          A statement that would otherwise be hearsay

                                           32



 Case 1:18-cv-00969-TDS-LPA         Document 258       Filed 08/05/22     Page 32 of 41
may    nevertheless        be     admissible           if   it     is    offered              to     prove

something other than its truth, and this includes statements

used to charge a party with knowledge of certain information.”

In    re   C.R.    Bard,    Inc.,        MDL.    No.    2187,      Pelvic          Repair          System

Products Liability Litigation, 810 F.3d 913, 925–26 (4th Cir.

2016)      (citation      omitted).         White       does       not       dispute          that        the

messages are hearsay or explain how the messages “show malice.”

While      such     evidence       could        be     admissible            for    proof            of     a

declarant’s state of mind under Federal Rule of Evidence 803(3),

Stalls     correctly       points    out        that    the    messages            on    their          face

post-date the alleged trespass on September 3, 2016, and are

thus    are   not       evidence    of    state        of   mind    at       the        time       of     the

trespass.          See     Fed.     R.     Evid.       803(3)       (granting             a        hearsay

exception         for    “then-existing           state       of    mind . . .                 but        not

including a statement of memory or belief to prove the fact

remembered        or    believed    unless        it    relates         to    the       validity           or

terms of the declarant’s will”); United States v. Lentz, 282 F.

Supp. 2d 399, 411 (E.D. Va. 2002), aff’d, 58 F. App’x 961 (4th

Cir. 2003) (“The statement should not look backward or describe

a declarant’s past memory or belief about another’s conduct.”

(citing United States v. Carmichael, 232 F.3d 510, 521 (6th Cir.

2000))).

       As a result, it is not entirely clear how White intends to

use this evidence for impeachment.                      Thus, the court will reserve

                                                33



 Case 1:18-cv-00969-TDS-LPA              Document 258         Filed 08/05/22            Page 33 of 41
ruling on the question whether White may be permitted to use the

messages for that purpose.               See Fed. R. Evid. 613(b).                  “For a

statement       to    qualify    as      a    witness’[s]        prior      inconsistent

statement under Rule 613(b), the statement must be one that the

witness has made or adopted, or to which the witness otherwise

has    subscribed.”          Carnell         Construction        Corp.      v.    Danville

Redevelopment & Housing Authority, 745 F.3d 703, 718-19 (4th

Cir. 2014).          Whether the evidence is admissible at trial will

also depend on if it satisfies Rule 403.                     See id. at 719-21.

       For these reasons, the motion to exclude evidence of text

messages between Brittany Stalls and Christina White or their

mother,     Mrs.     Ross,   will   be       granted    to   the    extent       they   were

offered as direct evidence, and the court reserves as to whether

they may be admitted for impeachment purposes.

       D.      Motion to Exclude Testimony of Anita Holder

       Defendant Reidsville moves to exclude expert testimony of

Anita Holder. 6       (Doc. 203 at 2.)             Reidsville argues her testimony

should be excluded for the reasons stated in Defendants’ joint

motion to exclude her testimony (Doc. 166).                         (Doc. 204 ¶ 12.)

The    court    previously      ruled    on        Defendants’     motion    to    exclude

expert testimony or evidence from Holder.                        (Doc. 161 at 25-36;



6
  Defendant Stalls also moved to exclude expert testimony from Anita
Holder (Doc. 192 at 2), but the parties have agreed that motion should
be granted (Doc. 252 at 3).


                                              34



    Case 1:18-cv-00969-TDS-LPA      Document 258         Filed 08/05/22     Page 34 of 41
Doc. 228 at 12-20 (finding that “Holder’s expert testimony would

not    assist    the     trier    of    fact    to   determine        a    fact     in   issue

relevant to the claim against Reidsville as to Hampshire’s knock

and talk”).)       Thus, for the reasons discussed at length already,

Reidsville’s       motion    to    exclude         Holder’s    expert       testimony       is

granted     in     part    and     denied       to    the     limited       extent       noted

previously; namely, whether she would be permitted to testify

will    depend      on    whether        Raines,      Barham,      and/or         Williamson

contends they did not know they could not enter White’s home

without a warrant, consent, or exigency.                      (See Doc. 228 at 20.)

If    any   of   them     makes    that       contention,      then       the    court    will

consider     permitting          her     to     testify       as   to       an      officer’s

expectation, based on training, in that regard.

       E.    Undisputed Matters

       On July 5, 2022, the parties filed a joint notice of status

of the pending motions in limine.                      (Doc. 252.)          Based on the

filing, the parties have agreed not to mention or ask about the

following:

       1)    Evidence of the court’s denial of Stalls’s motion for

             summary judgment on the trespass claim (Doc. 192 at

             2);

       2)    Evidence      of     the    GCSO’s      internal      investigation          into

             Stalls (id.);

       3)    Evidence of expert testimony by Anita Holder as to

                                              35



 Case 1:18-cv-00969-TDS-LPA             Document 258    Filed 08/05/22          Page 35 of 41
           Stalls (id.);

     4)    Evidence    of   an   alleged    extra-marital     affair    between

           Stalls and GCSO Deputy Buskirk (id.);

     5)    Evidence of the sheriff’s surety bond (id.);

     6)    The existence of liability insurance (Doc. 203 at 1);

     7)    Reidsville’s     ability    to    pay   any    judgment     rendered

           (id.);

     8)    Other claims or lawsuits involving Reidsville and its

           employees (id.);

     9)    Personnel    matters      involving      RPD    Sergeant     Lynwood

           Hampshire (id.);

     10)   Evidence related to any settlement offers (id.);

     11)   Evidence of the court’s ruling on Reidsville’s motion

           for summary judgment (id. at 2.);

     12)   Evidence that the city of Greensboro is paying defense

           costs for the Greensboro Officers and has a qualified

           duty to indemnify them for any judgment against them

           in this matter (Doc. 201);

     Additionally, the court will deny as moot the motion to

exclude evidence of malice towards White by Officer Schwochow

(Doc. 199) who is no longer a Defendant in the case.

III. CONCLUSION

     For the reasons stated,

     IT IS THEREFORE ORDERED that:

                                      36



 Case 1:18-cv-00969-TDS-LPA      Document 258    Filed 08/05/22   Page 36 of 41
   1.    Stalls’s motion for a separate trial (Doc. 182) and

         Reidsville’s motion to sever (Doc. 185) are DENIED.

   2.    Stalls’s motion in limine (Doc. 192) is GRANTED in

         part and DENIED in part as follows:

         a.    The   motion    to      exclude      evidence       of      compensatory

               damages     related          to    White’s        criminal          defense

               costs,    lost        income        and     benefits,             Christina

               White’s     lost      income,       child        custody         litigation

               expenses, miscellaneous personal property items,

               tuition     expenses,         and     pain       and     suffering        or

               emotional      distress           related    to     his          arrest   or

               termination of his employment is GRANTED.

         b.    The   motion       to      exclude        evidence          of     punitive

               damages is DENIED as premature.

         c.    The motion to exclude evidence of the criminal

               investigation         as     related        to    Stalls,          Stalls’s

               participation in an alleged conspiracy, and the

               outcome of White’s criminal charges is GRANTED.

         d.    The   motion    to      exclude      evidence       of      the     court’s

               denial of Stalls’s motion for summary judgment on

               the trespass claim is GRANTED.

         e.    The   motion     to     exclude       evidence         of    the     GCSO’s

               internal investigation into Stalls is GRANTED.

         f.    The    motion      to        exclude        evidence         of      expert

                                       37



Case 1:18-cv-00969-TDS-LPA     Document 258         Filed 08/05/22         Page 37 of 41
               testimony      by    Anita     Holder     as     to     Stalls      is

               GRANTED.

         g.    The   motion    to    exclude    evidence        of    an   alleged

               extra-marital        affair    between     Stalls         and      GCSO

               Deputy Buskirk is GRANTED.

         h.    The motion to exclude evidence of the sheriff’s

               surety bond is GRANTED.

         i.    The motion to exclude evidence of emails and text

               messages      allegedly       exchanged     between         Brittany

               Stalls and Christina White or their mother, Mrs.

               Ross, is GRANTED in part and DENIED in part as

               noted above.

   3.    The motion to exclude evidence of malice toward White

         by Officer Schwochow (Doc. 199) is DENIED as moot.

   4.    The   motion   to    exclude       evidence     that      the     city    of

         Greensboro is paying defense costs for the Greensboro

         Defendants and has a qualified duty to indemnify them

         for any judgment against them in this matter (Doc.

         201) is GRANTED.

   5.    Reidsville’s motion in limine (Doc. 203) is GRANTED in

         part and DENIED in part as follows:

         a.    The motion to exclude the existence of liability

               insurance is GRANTED.

         b.    The   motion    to   exclude     evidence      of     Reidsville’s

                                     38



Case 1:18-cv-00969-TDS-LPA    Document 258      Filed 08/05/22       Page 38 of 41
               ability to pay is GRANTED.

         c.    The motion to exclude evidence of other claims or

               lawsuits involving Reidsville and its employees

               is GRANTED.

         d.    The   motion     to     exclude       evidence         of     personnel

               matters involving RPD Sergeant Lynwood Hampshire

               is GRANTED.

         e.    The   motion    to    exclude      evidence       related          to   any

               settlement offers is GRANTED.

         f.    The   motion     to     exclude       evidence       of      previously

               dismissed       claims           including         the         criminal

               investigation        against     White,      White’s         subsequent

               arrest and the outcome of his criminal charges,

               White’s    employment       termination,          White’s      alleged

               conspiracy      between        the     Defendants,           emotional

               distress related to his arrest or termination of

               his   employment,       lost     wages,      backpay,         or    other

               damages        associated            with        his         employment

               termination      from      the    City      of   Greensboro,            and

               damages related to the criminal charges brought

               against White is GRANTED.

         g.    The   motion    to    exclude        evidence      of       Hampshire’s

               criminal      investigation          into    White      is    GRANTED;

               provided that the jury may be informed of the

                                     39



Case 1:18-cv-00969-TDS-LPA    Document 258        Filed 08/05/22       Page 39 of 41
               fact that Hampshire was present for the “knock

               and    talk”       for   a     lawful    purpose        related    to   an

               ongoing investigation.

         h.    The motion to exclude evidence of Judge Biggs’s

               written       judicial         opinion    on   White’s       motion     to

               suppress related to his federal criminal charges

               is GRANTED.

         i.    The motion to exclude evidence of damages arising

               from     White’s         arrest    and     criminal        charges      is

               GRANTED.

         j.    The motion to exclude evidence of damages related

               to     the    termination         of     White’s        employment      is

               GRANTED.

         k.    The    motion      to    exclude       evidence     of    the     court’s

               ruling        on     Reidsville’s          motion        for      summary

               judgment is GRANTED.

         l.    The motion to exclude expert testimony of Anita

               Holder       GRANTED      in    part     and   DENIED      in   part    as

               noted herein.

   6.    The Greensboro Defendants’ motion to exclude evidence

         of   compensatory        and    punitive       damages        (Doc.   255)    is

         GRANTED in part and DENIED in part, as noted above;

         provided that the jury may be informed of the fact

         that the Greensboro Defendants were present during the

                                         40



Case 1:18-cv-00969-TDS-LPA        Document 258        Filed 08/05/22     Page 40 of 41
            lawful   search   of   White’s    home   by    other    agencies

            related to an ongoing investigation.

     IT   IS   FURTHER   ORDERED   that    counsel   shall     instruct   all

witnesses of these rulings, and neither counsel nor witnesses

shall mention these subjects to the jury without prior court

approval.



                                             /s/   Thomas D. Schroeder
August 5, 2022                            United States District Judge




                                    41



 Case 1:18-cv-00969-TDS-LPA   Document 258    Filed 08/05/22   Page 41 of 41
